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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF GEORGIA
                                 WAYCROSS DIVISION

 BRANTLEY COUNTY DEVELOPMENT
 PARTNERS, LLC,

                Plaintiff,
 v.                                                   CIVIL ACTION FILE
                                                      NO. 5:19-CV-00109-LGW-BWC
 BRANTLEY COUNTY, GEORGIA, et al.,

                Defendants.


 NOTICE OF INTENT TO OPPOSE ATTORNEY FEES REQUESTED BY PLAINTIFF
                    AND REQUEST FOR DEADLINE

       COME NOW Defendants Brantley County, Georgia, Chairman and members of the

Brantley County Board of Commissioners (“Defendants” or “County”), by and through the

undersigned counsel, and file this Notice to inform the Court of Defendants’ intent to file a brief

opposing the amounts requested by Plaintiff for attorney fees. The County intends to oppose the

itemized entries included in the Second Affidavit of Mark D. Johnson (Doc. 192) and the Second

Affidavit of Kyler L. Wise (Doc. 193).

       Plaintiff Brantley County Development Partners filed a Renewed Motion for Attorney Fees

on August 3, 2022. (Doc. 174). The Renewed Motion incorporated the documentation previously

filed in support of Plaintiff’s first motion for attorney fees, including the affidavits of Mark D.

Johnson and Kyler L. Wise. (Doc. 174, p.6).

       The County already filed a brief in opposition to Plaintiff’s Renewed Motion. (Doc. 176).

Now, almost four months later, Plaintiff filed the Second Affidavit of Mark D. Johnson and the

Second Affidavit of Kyler L. Wise which adopt, incorporate, and supplement Mr. Johnson’s and

Mr. Wise’s previous affidavits and fee bills. (Doc. 192, p.2; Doc. 193, p.2). It is these affidavits
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and supporting documentation to which Defendants intend to provide objections.

       As the party opposing Plaintiff’s fee application, the County must provide specific and

“reasonably precise” objections regarding the hours it wants excluded from the attorney fee

calculation. Lambert v. Fulton Cnty., 151 F. Supp. 2d 1364, 1369 (N.D. Ga. 2000) (quoting

Hensley v. Eckerhart, 461 U.S. 424, 428 (1983)). Plaintiff has submitted additional documentation

for multiple attorneys and non-attorney professionals at multiple law firms, which supplements

Plaintiff’s previously submitted documentation for multiple attorneys and non-attorney

professionals at multiple law firms, as well as an expert who reviewed the bills.

       The County is in the process of reviewing each of the billing entries recently provided by

Plaintiff to identify the bills to which it objects being included in an award of attorneys’ fees. The

County therefore requests that this Court permit the County to file a brief outlining its opposition

to Plaintiff’s renewed attorney fee application with a deadline of January 28, 2023, which is 30

days from today’s date.


       Respectfully submitted, this 29th day of December, 2022.

                                                FREEMAN MATHIS & GARY, LLP

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                                 CERTIFICATE OF SERVICE

       I hereby certify that I have this day electronically submitted the foregoing NOTICE OF

INTENT TO OPPOSE ATTORNEY FEES REQUESTED BY PLAINTIFF AND REQUEST

FOR DEADLINE to the Clerk of Court using the CM/ECF system which will automatically send

electronic mail notification of such filing and service to the following counsel of record:

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       This 29th day of December, 2022.

                                              /s/ Dana K. Maine
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